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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 99-06153-CR-MOORE


   UNITED STATES OF AMERICA

   vs.

   ARMANDO VALENCIA,

         Defendant.
   ________________________________/


                       GOVERNMENT’S RESPONSE TO DEFENDANT’S
                           PETITION TO MODIFY JUDGEMENT

          Defendant Armando Valencia has filed a motion seeking a reduction in his term of

   imprisonment. The defendant invokes Federal Rule of Civil Procedure 60(b) for authority to

   modify his judgement. He bases his request on his prison record, which he asserts demonstrates

   his “post sentencing rehabilitation.”

          Neither post-sentencing rehabilitation nor Federal Rule of Civil Procedure 60(b) authorize

   a court to reduce a sentence in a criminal case. Indeed, the rule the defendant relies on does not

   apply to criminal cases. United States v. Mosavi, 138 F.3d 1365, 1366 (11th Cir. 1998) held so

   succinctly: “Rule 60(b) simply does not provide for relief from judgment in a criminal case . . ..”

   See also, United States v. Blanco, 632 Fed. Appx. 549, (11th Cir. 2015), non-published opinion.

          The defendant correctly notes that Rule 60(b) can be used in a manner that has the effect

   of setting aside a judgment in a criminal cases, but that procedure is not available here. As
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   explained somewhat in Gonzalez v. Crosby, 125 S. Ct. 2641 (2005) it can be invoked in

   extraordinary cases to reverse judgments in habeas corpus cases that have been brought to

   challenge criminal convictions, because a habeas corpus case is considered a civil matter.

   However, the defendant is not now seeking to reverse a judgment in a habeas proceeding; he has

   never filed one.

          The defendant has also not described any extraordinary circumstances justifying relief.

   Indeed, he has not identified any circumstances even suggesting relief. He provides a broad-

   ranging survey of cases involving Rule 60(b), but provides no factual or legal basis to show why

   it should apply to him in this case. There are only limited bases on which a court has jurisdiction

   to alter an established sentence in a criminal case, and this defendant has not shown, or even

   alleged, any that give this court either authority or reason to grant him the relief he seeks.

          His motion must therefore be denied.

                                                  Respectfully submitted,

                                                                  WIFREDO A. FERRER
                                                                  UNITED STATES ATTORNEY


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                                   CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on July 21, 2016, I electronically filed the foregoing document

   with the Clerk of the Court using CM/ECF and that a copy was sent via U.S. Mail to Armando

   Valencia, Reg. #98441-004, Federal Correctional Institution, 3600 Guard Road, Lompoc, CA

   93436.



                                                             s/ Frank H. Tamen
                                                             Frank H. Tamen
                                                             Assistant United States Attorney




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